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 4                                 UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6                                                    ***
 7      UNITED STATES OF AMERICA,                                Case No. 2:17-cr-00160-JAD-VCF
 8                                            Plaintiff,
               v.                                                           ORDER
 9
        DEANDRE NAKITA BROWN,
10
                                             Defendant.
11

12            This matter is before the Court on Richard A. Wright, Esq.’s Motion to Withdraw As
13     Counsel (ECF No. 217) filed on August 3, 2018. Upon review and consideration and with good
14     cause appearing therefor, the Court will grant Mr. Wright’s motion and new counsel shall be
15     appointed. Accordingly,
16            IT IS HEREBY ORDERED that Richard A. Wright, Esq.’s Motion to Withdraw and
17     Appoint New Counsel (ECF No. 217) granted.
18            IT IS FURTHER ORDERED that this matter is referred to the Criminal Justice Act
19     Panel for appointment of counsel.
20            IT IS FURTHER ORDERED that appointed counsel shall enter an appearance by
21     Wednesday, August 21, 2018.
22            Dated this 7th day of August, 2018.
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                                                               GEORGE FOLEY, JR.
25                                                             UNITED STATES MAGISTRATE JUDGE
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